
The CouitT
was of opinion that on the first count, in which the offence charged is the forging of the bill with the intent to defraud some person-therein mentioned, this intent may be proved by after circumstances, without their being set forth. The indorsement of the bill by the prisoner is one of those circumstances, and is not a part of the bill; evidence may therefore be offered of the making of the bill produced by the Attorney of the United States, notwithstanding the indorsements are not set out in the indictment. .
Mr. Key objected to the bill going in evidence under the indictment, it having the words “ account of” in it, which are not in the bill set forth in the indictment. This variance was admitted to be fatal.
Mr. Jones then moved the Court to quash the indictment; but
■ The Court refused to quash it, being of opinion that the prisoner had a right to a verdict. Verdict for the prisoner.
Mr. Jones, after verdict, renewed his motion to quash the indiet*218ment: Granted; no objection being made. — The prisoner was afterwards at the same term convicted upon another indictment, for a similar forging of another bill, on the trial of which the same objection was taken, that the real subsequent indorsements should have been set forth in the indictment. But the objection was again overruled by the,Court. To show.that a fictitious bill may be forgery, the following cases were cited: Ann Lewis’s case, Foster, Cr. Law, 116 ; Bollard’s case, Leach, 97, Ca. 47; Logan’s case, Leach, 503, Ca.,197 ; Tuft's case, Leach, 206, Ca. 88; Taylor’s case, Leach, 255, Ca. 106, and Moffat’s case, Leach, 483, Ca. 190.
